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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

JAMES MADISON PROJECT, et al.,       )
                                     )
 Plaintiffs,                         )
                                     )
v.                                   )
                                     )                       Case No. 17-597-APM
UNITED STATES DEPARTMENT OF JUSTICE, )
                                     )
 Defendant.                          )
                                     )

                   DEFENDANT’S SUPPLEMENTAL MEMORANDUM

       By Order dated January 5, 2018, the Court invited the parties “to supplement their

briefing in this case to take account of the court’s [recent] decision in James Madison Project v.

DOJ, 17-cv-144, and apply it to the facts of this case.” In James Madison Project, the plaintiff

submitted a Freedom of Information Act (“FOIA”) request to several agencies, seeking

information related to a dossier about President Trump circulating in the media. 2018 WL

294530 (D.D.C. January 4, 2018). Responding agencies largely refused to confirm or deny

having records related to the dossier or a synopsis thereof. As in this case, the only question

before the Court was whether the agencies had officially acknowledged the existence or

nonexistence of responsive documents. In defining the standard for official acknowledgment,

the Court rejected the plaintiff’s interpretation of the D.C. Circuit opinion in ACLU v. CIA, 710

F.3d 422, 426 (D.C. Cir. 2013). The Court held that ACLU did not change the standard for

official acknowledgement in this Circuit and that Plaintiffs could not substitute the “logical nor

plausible standard” for “the specificity” requirement of Fitzgibbon and other D.C. Circuit cases.

2018 WL 294530, at *6. The Court further held that the standard for specificity could be met (1)
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by an explicit reference to responsive records in an official statement, or (2) by an “inescapable

inference” that leaves no doubt that the records in fact exist. Id.

       The Court went on to analyze various public statements, including tweets from the

President, and applying the strict standards routinely applied in this Circuit, found that none of

those statements officially acknowledged the existence or nonexistence of responsive records.

Id. at 11-16. They did not specifically reference the withheld information nor lead to an

inescapable inference that such documents exist. Id. Also relevant to the instant case, in

analyzing the President’s tweets, the Court found that they were official statements of the

President, id. at 7, and also noted that “none of the tweets inescapably lead to the inference that

the President’s statements about the Dossier are rooted in information he received from the law

enforcement and intelligence communities,” id. at 14. Furthermore, the Court noted that the

tweets appeared to reference ongoing media stories. Id. at 15-16 (“it does not follow that just

because a tweet is an ‘official’ statement of the President that its substance is necessarily

grounded in information contained in government records.”). Given the lack of specificity of the

tweets and other alleged disclosures as to the existence of responsive records, the Court found

that they did not confirm or deny the existence of responsive records about the dossier or

synopsis. The Court also rejected the plaintiffs’ efforts to shoehorn unofficial statements into the

official acknowledgement standard. Id. at 10 (“[S]tatements from a non-authoritative source

cannot possibly bolster or undermine statements from an authoritative source. The official

statement must stand on its own—it either rises to the level of a public acknowledgment or it

does not.”).

       As applied to the instant case, then, the Court’s analysis confirms the conclusion that

there has been no official acknowledgement of the existence or nonexistence of responsive FISA



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applications, warrants or orders related to the Trump campaign during the campaign. Not a

single one of the cited statements rises to the required level of specificity to waive a Glomar

response. The statements by the President and the then-Press Secretary that refer to news

reports, see e.g., Pls.’ MSJ at 5-12, are subject to precisely the same analysis as the statements

rejected by the Court in James Madison Project, 2018 WL 294530, *13-*16. And the Court

specifically rejected the effort to shoe horn unofficial statements or media reporting into an

official disclosure. Compare Pls.’ Reply at 8-10 with 2018 WL 294530, *9-*11.

       Nothing in Plaintiffs’ “notices of supplemental authority” changes this outcome. See

ECF Nos. 25, 26, 27. In the first of these notices, Plaintiffs cite a November 2, 2017 radio

interview in which the President did not confirm or deny the existence of FISA materials. In

fact, he seems to have denied having any personal knowledge of allegations related to FISA

warrants, stating that “As President, you’re not supposed to become involved with like Justice or

the FBI.” ECF No. 25.

       In the second notice, Plaintiffs quote a November 29, 2017 tweet from the President’s

twitter account: “The House of Representatives seeks contempt citations(?) against the

JusticeDepartment and the FBI for withholding key documents and an FBI witness which could

shed light on surveillance of associates of Donald Trump. Big stuff. Deep State. Give this

information NOW! @foxnews.” ECF No. 26. This is in fact one of the tweets relied upon by

Plaintiffs in James Madison Project, and the Court rejected it as an official disclosure related to

the dossier, in part because it seemed to rely on ongoing news reports. 2018 WL 294530, at *14

-*15. In the present case, there is no reason to speculate about what the President knew or how.

The tweet simply does not reference FISA and does not state definitively that any such

surveillance occurred.



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        Finally, the Plaintiffs’ third notice attaches and relies upon Government filings in other

cases, including Gizmodo Media Group, LLC, v. DOJ, Civ. No. 17-3566 (S.D.N.Y.) in which the

Government acknowledges that there are no FISA records specifically related to the President’s

tweets. See ECF No. 27. Plaintiff argues that this is a “broader” denial than previously made by

the Government. In fact it is not. This acknowledgement is consistent with the public statements

of then-FBI Director James Comey, explicitly referenced in the Government’s opening brief:

Director Comey stated that DOJ and FBI had “no information” that supported the President’s

tweets. See ECF No. 13, at 20. And it is consistent with the declarations and findings referenced

in the Government’s reply brief to the same effect. See ECF No. 21, at 3. Presumably, “no

information” also encompasses “no FISA information”; so it is certainly not true, as Plaintiffs

contend, that the newest declaration is “broader” than the previous statements on this subject.

And, as previously explained, this denial that a subset of the requested records exists does not

waive a Glomar as to the broader request. Plaintiffs have sought FISA applications and orders

related to a larger group of individuals in a larger timeframe. The denial that responsive records

would exist as to one of those individuals at a particular location in a smaller timeframe does not

confirm or deny whether there are any responsive records as to the broader request. See, e.g.,

James Madison Project, 2018 WL 294530, at *5. (“Ultimately, then, to overcome an agency’s

Glomar response when relying on an official acknowledgement, ‘the requesting plaintiff must

pinpoint an agency record that both matches the plaintiff’s request and has been publicly and

officially acknowledged by the agency.’”). The “disclosure” does not “match” the information

requested here. 1


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  To the extent the Court disagreed, Defendants could easily “cure” any alleged deficiency by submitting a
declaration in this matter conforming to the supplemental declaration in Gizmodo – that there are no responsive
records relating to President’s tweets but that Defendants cannot otherwise confirm or deny the existence of
responsive records.

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      For the foregoing reasons, the Court should grant Defendant’s motion for summary

judgment.

Dated: January 17, 2018                          Respectfully Submitted,

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